

Merlo v LCOR 55 Bank St. LLC (2024 NY Slip Op 01875)





Merlo v LCOR 55 Bank St. LLC


2024 NY Slip Op 01875


Decided on April 04, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 04, 2024

Before: Renwick, P.J., Manzanet-Daniels, Kennedy, Mendez, Michael, JJ. 


Index No. 152443/17 Appeal No. 1967-1968-1969-1970 Case No. 2023-00904, 2023-00907, 2023-00908, 2023-00909 

[*1]Daniel Merlo, Plaintiff-Appellant,
vLCOR 55 Bank Street LLC, et al., Defendants-Respondents, Ecker Window Corp., et al., Defendants.


Sacks &amp; Sacks LLP, New York (Scott N. Singer of counsel), for appellant.
Black Marjieh &amp; Sanford LLP, Elmsford (Steven R. Lau of counsel), for LCOR 55 Bank Street LLC, LCOR Incorporated, WP North Tower, LLC and LRC Construction LLC, respondents.
Ahmuty, Demers &amp; McManus, Albertson (Nicholas P. Calabria of counsel), for Precision Carpentry of Westchester, Inc., respondent.



Order, Supreme Court, New York County (Frank P. Nervo, J.), entered January 9, 2023, which denied plaintiff's motion for partial summary judgment on liability, unanimously affirmed, without costs. Appeals from orders, same court and Justice, entered January 9, 2023, which resolved certain discovery matters, unanimously dismissed, without costs, as abandoned.
Plaintiff is correct that the outstanding discovery did not warrant denial of his motion, as it concerned damages rather than liability. Nevertheless, the motion was properly denied on its merits since questions of fact exist as to whether plaintiff's fall occurred in a passageway so as to implicate Industrial Code (12 NYCRR) § 23-1.7(e)(1) (see Pawlicki v 200 Park, L.P., 199 AD3d 578, 579 [1st Dept 2021]; Prevost v One City Block LLC, 155 AD3d 531, 535 [1st Dept 2017]). Regarding plaintiff's Labor Law § 200 and common-law negligence claims, questions of fact exist as to whether defendants had notice of the condition that allegedly caused plaintiff's fall (see Coon v WFP Tower B Co. L.P., 220 AD3d 407, 408-409 [1st Dept 2023]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 4, 2024








